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      LLC and Hovik M. Khaloian
    8
    9                      UNITED STATES DISTRICT COURT
   10                     CENTRAL DISTRICT OF CALIFORNIA
   11
   12 GLENN HOWARD, GALE HOWARD                  Case No. 2:17-cv-05701-DMG-JPR
      and CHRISTINE HOWARD,
   13                                            NOTICE OF MOTION AND
                Plaintiffs,                      MOTION FOR ATTORNEYS’
   14                                            FEES; MEMORANDUM OF
           v.                                    POINTS AND AUTHORITIES
   15
      HMK HOLDINGS, LLC, and HOVIK               [Filed concurrently with Declaration of
   16 M. KHALOIAN,                               Martin H. Orlick and Proposed Order]
   17              Defendants.                   Date:    July 27, 2018
                                                 Time:    9:30 a.m.
   18                                            Ctrm.:   8C, 8th Floor
                                                 Judge:   Hon. Dolly M. Gee
   19
                                                 Judgment entered: June 11, 2018
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    1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
    2              PLEASE TAKE NOTICE THAT on Friday, July 27, 2018, at 9:30 a.m., or
    3 as soon thereafter as the matter may be heard, in Courtroom 8C, located in the
    4 United States Courthouse, 350 West 1st Street, 8th Floor, Los Angeles, CA 90012,
    5 the Honorable Dolly M. Gee, United States District Judge presiding, Defendants
    6 HMK Holdings, LLC and Hovik M. Khaloian (collectively, “HMK”) will and
    7 hereby do move for an Order awarding HMK its reasonable attorneys’ fees, totaling
    8 $211,154.00, incurred in prevailing on this lawsuit filed by Plaintiffs Glenn Howard
    9 (“Mr. Howard”), Gale Howard (“Mrs. Howard”), and Christine Howard (“Ms.
   10 Howard”) (collectively, “Plaintiffs”).
   11              This Motion is made pursuant to Federal Rule of Civil Procedure 54 and
   12 Local Rule 54 on the following grounds:
   13              Plaintiffs are liable for HMK’s attorneys’ fees because the written lease
   14 governing Plaintiffs’ tenancy at HMK’s house contains a broad attorneys’ fees
   15 provision awarding reasonable attorneys’ fees to the prevailing party in any action
   16 arising out of the lease. The lease provides that the terms and conditions of the lease
   17 continue if, as happened here, the tenancy continues on a month-to-month basis after
   18 the termination date stated in the lease. All of Plaintiffs’ claims in this case arise out
   19 of their tenancy at the house; indeed, their claims were based on the allegation that
   20 they should have been permitted to stay longer, which would have continued the
   21 terms of the lease even longer. HMK is the prevailing party in this case.
   22 Accordingly, Plaintiffs are liable to HMK for HMK’s attorneys’ fees.
   23              Plaintiffs also are liable for HMK’s attorneys’ fees because the federal Fair
   24 Housing Amendments Act (“FHAA”), under which Plaintiffs sued, provides the
   25 Court with the discretion to award attorneys’ fees to a prevailing defendant where,
   26 as here, the plaintiffs’ claims were frivolous, unreasonable and/or without
   27 foundation. HMK prevailed on Plaintiffs’ claims on summary judgment. Plaintiffs’
   28 claims in this case were frivolous, unreasonable and/or without foundation. As

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    1 explained in detail below, Plaintiffs’ claims of disability discrimination were based
    2 entirely on Plaintiffs’ intentional mischaracterizations of the letters of Mr. Howard’s
    3 treating and supervising physicians attached to Plaintiffs’ Complaint. Plaintiffs
    4 alleged in their Complaint and argued in opposition to summary judgment that those
    5 letters meant Mr. Howard could not leave the house (even after those physicians
    6 stated under oath that their letters said no such thing). Plaintiffs knew from the
    7 outset of this case that their claim was based solely on their convenience and that
    8 there was no legal basis to argue, as they did, that HMK should have accommodated
    9 Plaintiffs’ convenience. Accordingly, Plaintiffs’ claims were and are frivolous and
   10 HMK should be awarded its reasonable attorneys’ fees incurred in prevailing.
   11              The amount of fees that should be awarded to HMK should be at least the
   12 amount of the lodestar. The hourly rates charged by HMK’s counsel, Jeffer
   13 Mangels Butler & Mitchell LLP (“JMBM”), are reasonable and commensurate with
   14 other highly skilled litigation attorneys practicing in the Los Angeles market. The
   15 fees HMK incurred in this case were reasonably incurred, given the level of
   16 complexity of the case and the complete victory achieved by HMK.
   17              This Motion is made following the conference of counsel pursuant to L.R. 7-3
   18 which took place on June 15, 2018. [Declaration of Martin H. Orlick (“Orlick
   19 Decl.”), ¶ 2.]
   20              This Motion is based on this Notice of Motion and Motion, the attached
   21 Memorandum of Points and Authorities, the concurrently-filed Orlick Decl. and
   22 exhibits thereto, any reply submission that HMK may file, all of the pleadings and
   23 papers on file in this action, any matters of which this Court may properly take
   24 judicial notice or may otherwise consider, and any other written or oral argument or
   25 evidence that may be presented to or considered by the Court prior to its ruling.
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    1 DATED: June 25, 2018               JEFFER MANGELS BUTLER &
                                         MITCHELL LLP
    2
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    4
    5
    6                                    By: /s/ Andrew I. Shadoff
    7                                                 ANDREW I. SHADOFF
                                             Attorneys for Defendants HMK Holdings,
    8                                        LLC and Hovik M. Khaloian
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    1                     MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.           INTRODUCTION
    3              This was not a close case. From the outset, Plaintiffs had no evidence
    4 supporting their claim under the FHAA that HMK committed disability
    5 discrimination by failing to accommodate Plaintiffs’ convenience. At summary
    6 judgment, the baselessness of Plaintiffs’ case was exposed and the Court properly
    7 granted judgment for HMK. As the prevailing party, HMK should be awarded its
    8 attorneys’ fees on either of two theories.
    9              First, the written lease that governed Plaintiffs’ tenancy at the subject house
   10 contains a broad attorneys’ fees provision that applies even though the written lease
   11 itself terminated. See Cal. Civ. Code § 1945. Because Plaintiffs’ claims arise out of
   12 the lease and their tenancy at the house, they should be liable for HMK’s fees.
   13              Second, under the FHAA, the Court has the discretion to award fees to
   14 prevailing defendants where, as here, a plaintiff’s case is frivolous, unreasonable or
   15 without foundation. As the Court found in granting summary judgment, Plaintiffs
   16 had no evidence whatsoever supporting their claims of discrimination. From the
   17 outset, this case was nothing more than an attempt to shake down the landlord and
   18 buy Plaintiffs’ time to stay in the house without paying rent until they were ready to
   19 move to Florida. It is the type of frivolous, bad faith case for which a prevailing
   20 defendant should be awarded its attorneys’ fees.
   21              In obtaining complete victory in this case, HMK incurred $238,324.00 in total
   22 fees. By this Motion, HMK seeks to recover only the time billed by the three
   23 attorneys who worked on the case (i.e., not time billed by the paraprofessionals who
   24 provided essential litigation support), which totals $211,154.00. HMK should be
   25 awarded this amount of attorneys’ fees.
   26              HMK’s attorneys at JMBM charge reasonable hourly rates that are fully in
   27 line with rates charged by other experienced and skilled litigators with extensive
   28 disability discrimination experience in the Los Angeles area. This fact is confirmed

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     1 by several recent cases from this District, at least two surveys of Los Angeles law
     2 firm rates, and the declaration of HMK’s lead counsel.
     3              The hours worked by JMBM were reasonably incurred for the total victory it
     4 was able to achieve in this case. JMBM staffed this case leanly, with one partner
     5 and two associates (one of whom was involved only since January 2018). To keep
     6 costs down, the associates handled the lion’s share of the work. And, as noted, even
     7 though those attorneys were ably assisted by various paraprofessionals at JMBM
     8 (who performed essential case support, research, and drafting services), HMK does
     9 not seek to recover fees for non-attorney time as part of this Motion.
    10              Accordingly, HMK should be awarded $211,154.00 in attorneys’ fees it
    11 incurred in prevailing on Plaintiffs’ meritless case.
    12
    13 II.          FACTUAL AND PROCEDURAL BACKGROUND
    14              The uncontroverted facts were recited in detail in the Court’s Order re
    15 Defendants’ Motion For Summary Judgment or, in the Alternative, Partial Summary
    16 Judgment. [Docket No. 48; the “MSJ Order”.] To avoid unnecessary duplication,
    17 HMK incorporates by reference the Court’s recitation of uncontroverted facts in the
    18 MSJ Order in its entirety, except where necessary for background. [See id. at 2-9.]
    19
    20              A.    Plaintiffs Rented the House From HMK Pursuant to the Lease
    21              Plaintiffs began renting the House from HMK pursuant to a written lease
    22 (“Lease”) on September 28, 2012. [Docket No. 48 at 2.] The Lease provided that
    23 Plaintiffs had to vacate the House as of October 1, 2013 unless “Landlord accepts
    24 Rent from Tenant (other than past due Rent), in which case a month-to-month
    25 tenancy shall be created which either party may terminate” as specified in the
    26 Lease’s terms. [Id. at 2-3.] Plaintiffs remained in the House pursuant to a month-to-
    27 month tenancy at the original rent from October 1, 2013 through the events
    28 underlying this action. [Id. at 3.]

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     1              B.    The Lease Includes a Prevailing Party Attorneys’ Fees Provision
     2              Paragraph 40 of the Lease provides: “ATTORNEY FEES: In any action or
     3 proceeding arising out of this Agreement, the prevailing party between Landlord
     4 and Tenant shall be entitled to reasonable attorney fees and costs, except as provided
     5 in paragraph 39A.” [Orlick Decl., Ex. 1 at ¶ 40 (emphasis added).] Paragraph 39A
     6 provides that a party who “commences an action without first attempting to resolve
     7 the matter through mediation … shall not be entitled to recover attorney fees….”
     8 [Id. at ¶ 39A.]
     9              Paragraph 2B provides that where, as here, the tenancy continued on a month-
    10 to-month basis after the termination date, “[a]ll other terms and conditions of this
    11 Agreement shall remain in full force and effect.” [Id. at ¶ 2B.]
    12
    13              C.    HMK Prevailed on Summary Judgment
    14              On August 1, 2017, Plaintiffs filed the Complaint. [Docket No. 1.]
    15              On September 8, 2018, HMK filed its Answer, denying Plaintiffs’ allegations
    16 and seeking, among other relief, its attorneys’ fees. [Docket No. 9 at p. 6.]
    17              On June 11, 2018, the Court granted summary judgment in favor of HMK on
    18 Plaintiffs’ FHAA claim and dismissed without prejudice the remaining state law
    19 claims for violations of the California Fair Employment and Housing Act
    20 (“FEHA”), Cal. Gov’t Code § 12900 et seq., negligence, and violation of the
    21 California Disabled Persons Act (“DPA”), Cal. Civ. Code § 54.1(b)(3)(B). [See
    22 generally Docket No. 48.]
    23
    24 III.         HMK SHOULD BE AWARDED THE ATTORNEYS’ FEES IT
    25              INCURRED IN PREVAILING ON THIS MERITLESS CASE
    26              A.    The Lease Provides For An Award of Attorneys’ Fees to the
    27                    Prevailing Party in Any Action Arising Out of the Lease
    28              “Federal courts apply state law in interpreting contracts that provide for

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     1 recovery of attorneys’ fees.” Trowbridge Sidoti LLP v. Taylor, No. 8:16-cv-00771-
     2 ODW-SK, 2018 WL 2670656, *6 (C.D. Cal. June 4, 2018). Here, the Lease
     3 between HMK and Plaintiffs provides for recovery of attorneys’ fees in this case.
     4              As a threshold matter, Ninth Circuit and California case law confirm that
     5 attorneys’ fees provisions, like the one here, that refer to all claims “arising out of”
     6 an agreement are broad provisions that provide for fees for both contract and tort
     7 claims. See e.g., Marsu, B.V. v. Walt Disney Co., 185 F.3d 932, 939 (9th Cir. 1999)
     8 (attorneys’ fees properly awarded for tort claims under provision awarding fees for
     9 any action “arising out of or in connection with” the agreement); Santisas v. Goodin,
    10 17 Cal.4th 599, 608 (1998) (fees clause entitling prevailing party to fees in any
    11 action “arising out of” the agreement encompassed both tort and contract claims);
    12 Hemphill v. Wright Family, LLC, 234 Cal.App.4th 911, 915 (2015) (directing trial
    13 court to award fees to prevailing plaintiff-homeowner in personal injury suit under
    14 provision of lease agreement providing for attorneys’ fees in any action arising out
    15 of the homeowner’s tenancy); Logtale, Ltd. v. IKOR, Inc., No. 11-cv-05452-EDL,
    16 2016 WL 7743405, *3 (N.D. Cal. Oct. 14, 2016) (awarding fees on tort claims
    17 where agreement allowed recovery of the “expenses of enforcing any right of such
    18 prevailing party under or with respect to this Agreement”); Unicom Sys., Inc. v.
    19 Farmers Group Inc., No. CV 04-04604 AJW, 2009 WL 10670614, *5 (C.D. Cal.
    20 June 29, 2009) (awarding fees on tort claims where fees clause of underlying
    21 agreement “encompasses any and all litigated claims—whether contract or
    22 noncontract—arising from or related to” the agreement).
    23              The claims asserted by Plaintiffs in this case are covered by the Lease’s broad
    24 attorneys’ fees provision. Drybread v. Chipain Chiropractic Corp., 151
    25 Cal.App.4th 1063 (2007), is instructive. There, the plaintiff-landlord filed an
    26 unlawful detainer action to evict the defendant-tenant “from commercial premises
    27 following expiration of a one-year written sublease.” Id. at 1066. The sublease
    28 contained an attorneys’ fees provision providing for fees to the prevailing party in

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     1 “any action or other proceeding arising out of this Sublease…” Id. After the
     2 plaintiff voluntarily dismissed the action, the defendant filed a motion for attorneys’
     3 fees. Id. at 1068. The trial court denied the motion on the grounds that the unlawful
     4 detainer action was a contract claim, for which fees are barred in the event of a
     5 voluntary dismissal. Id. at 1069.
     6              The California Court of Appeal reversed. After explaining that California law
     7 does not bar recovery of attorneys’ fees on non-contract claims that are voluntarily
     8 dismissed, the Court of Appeal held that the attorneys’ fees provision at issue was
     9 “broad enough to encompass noncontract claims.” Id. at 1071-72. Even though the
    10 plaintiff’s claim in that case “was not based on a breach of the lease itself” (id. at
    11 1076), the lease continued in existence due to the “defendant’s continued possession
    12 after expiration of the one-year term and plaintiffs’ acceptance of rent after
    13 expiration” (id. at 1077). Thus, the attorneys’ fees clause was effective when the
    14 unlawful detainer action was filed. Id.
    15              Here, just as in Drybread and the other cases cited above, the Lease contains
    16 a broad attorneys’ fees provision that covers Plaintiffs’ claims in this case.
    17              First, Paragraph 40 of the Lease provides that the prevailing party “[i]n any
    18 action or proceeding arising out of this Agreement” is “entitled to reasonable
    19 attorney fees and costs.” [Orlick Decl., Ex. 1 at ¶ 40.1] Both the Lease itself and
    20 California law confirm that this fees provision survived the termination date of the
    21 written lease. In particular, Paragraph 2B of the Lease provides that where, as here,
    22 the tenancy continues on a month-to-month basis after the termination date, “[a]ll
    23 other terms and conditions of this Agreement shall remain in full force and effect.”
    24 [Id. at ¶ 2B.] Similarly, California Civil Code section 1945 provides: “If a lessee of
    25 real property remains in possession thereof after the expiration of the hiring, and the
    26   1
         The exception to this provision for parties who refuse to mediate does not apply to
    27 HMK because HMK did not commence any action and did not refuse to mediate any
    28 dispute. It was Plaintiffs who failed to seek mediation before filing this lawsuit.

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     1 lessor accepts rent from him, the parties are presumed to have renewed the hiring on
     2 the same terms and for the same time, not exceeding one month when the rent is
     3 payable monthly, nor in any case one year.” (Emphasis added.)
     4              Second, HMK indisputably is the prevailing party, having won summary
     5 judgment on Plaintiffs’ FHAA claim and obtained the dismissal of Plaintiffs’ state
     6 law claims. [See Docket No. 48 at 1.]
     7              And third, Plaintiffs’ claims in this case arise out of the Lease and their
     8 continued tenancy at the House. Plaintiffs’ claims all are based out of their desire to
     9 remain tenants in the House until it was convenient for them to travel by car to
    10 Florida. Had they been granted their requested accommodation, the terms of the
    11 Lease (including the attorneys’ fees provision), would have continued in force. See
    12 Orlick Decl., Ex. 1 at ¶¶ 2B, 40; Cal. Civ. Code § 1945. Indeed, Plaintiffs sought
    13 injunctive relief ordering HMK to permit them to remain in the House. [Docket No.
    14 1 at p. 9.] Thus, as in Drybread, at the time the underlying events that formed the
    15 basis of Plaintiffs’ claims occurred, the Lease (including its attorneys’ fees
    16 provision) was in force. Accordingly, Plaintiffs’ claims are covered by the broad
    17 attorneys’ fees provision in the Lease. As the prevailing party, HMK therefore is
    18 entitled to recover its reasonable attorneys’ fees incurred in defending this case. As
    19 explained below, HMK should be awarded $211,154.00 in attorneys’ fees.2
    20
    21              B.    The FHAA Provides For a Discretionary Award of Attorneys’ Fees
    22              The FHAA provides the Court with discretion to award the prevailing party
    23 its reasonable attorneys’ fees and costs. See 42 U.S.C. § 3613(c)(2) (“In a civil
    24 action under subsection (a), the court, in its discretion, may allow the prevailing
    25
    26
    27   2
         HMK also has filed an Application to Tax Costs in the amount of $5,179.05 in
    28 costs incurred in connection with necessary depositions. [Docket No. 50.]

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     1 party, other than the United States, a reasonable attorney’s fee and costs….”).3 This
     2 section applies to both prevailing plaintiffs and defendants. See Taylor v. Harbour
     3 Pointe Homeowners Ass’n, 690 F.3d 44, 50 (2d Cir. 2012) (reversing district court’s
     4 denial of fees to prevailing defendant in FHAA case). Prevailing defendants can be
     5 awarded attorneys’ fees “upon a finding that the plaintiff’s action was frivolous,
     6 unreasonable, or without foundation.” Fox v. Vice, 563 U.S. 826, 833 (2011),
     7 quoting Christiansburg Garment Co. v. E.E.O.C., 434 U.S. 412, 421 (1978); see
     8 also CRST Van Expedited, Inc. v. E.E.O.C., 136 S.Ct. 1642, 1646 (2016) (“When a
     9 defendant is the prevailing party on a civil rights claim, the Court has held, district
    10 courts may award attorney’s fees if the plaintiff's ‘claim was frivolous,
    11 unreasonable, or groundless,’ or if ‘the plaintiff continued to litigate after it clearly
    12 became so’”), quoting Christiansburg, 434 U.S. at 422; Bryant Woods Inn, Inc. v.
    13 Howard County, Md., 124 F.3d 597, 606 (4th Cir. 1997) (applying Christiansburg
    14 standard to motion for attorneys’ fees under FHAA).
    15              Courts have awarded attorneys’ fees to prevailing defendants in FHAA cases
    16 under this standard.
    17              In Taylor, for example, the Second Circuit reversed the district court’s denial
    18 of attorneys’ fees for the prevailing defendant on a failure to accommodate claim
    19 under the FHAA where the plaintiff conceded at her deposition that she “didn’t ask
    20 for any special accommodations,” and the record indicated the defendants acted in
    21 “a neighborly manner.” 690 F.3d at 49-50. The Second Circuit noted that, even if
    22 the defendant knew about the plaintiff’s disability, “there simply was no way to
    23 provide relief from, or an exception to, a[ ] … policy that did not exist.” Id. at 50.
    24   3
           Subsection (a) provides, in pertinent part: “An aggrieved person may commence
    25   a civil action in an appropriate United States district court or State court not later
    26   than 2 years after the occurrence or the termination of an alleged discriminatory
         housing practice, or the breach of a conciliation agreement entered into under this
    27   subchapter, whichever occurs last, to obtain appropriate relief with respect to such
    28   discriminatory housing practice or breach.” 42 U.S.C. § 3613(a)(1)(A).

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     1              In Barrow v. Barrow, No. 16-11493-FDS, 2017 WL 2953636 (D. Mass. July
     2 10, 2017), the district court found that the plaintiff’s claims of racial discrimination
     3 were “groundless” and merited an award of attorneys’ fees where the plaintiff’s
     4 complaint “was entirely devoid of any allegation that [defendant real estate agent]
     5 acted with the intent to discriminate against plaintiff based on her race or that he
     6 acted pursuant to any facially neutral policy that had a disparate impact on African-
     7 Americans.” Id. at *4. “The complaint thus fell far short of stating a plausible
     8 claim for relief under either the FHA or the Civil Rights Act. There was absolutely
     9 no factual basis for the allegation that [the defendant] engaged in any kind of
    10 discriminatory conduct.” Id. The Court dismissed the complaint on a Rule 12(b)(6)
    11 motion and granted-in-part the defendant’s motion for fees. Id. at *2, *6.
    12              Similarly, here, HMK clearly is the prevailing party and there was no
    13 reasonable basis for Plaintiffs’ claims.
    14              As the Court acknowledged in the MSJ Order, Plaintiffs ignored HMK’s
    15 efforts to obtain a new, one-year written lease for more than a month. [Docket No.
    16 48 at 3.] The day after HMK caused a 60-day notice to quit to be served, Plaintiffs
    17 called the proposed new lease “illegal” and “invalid.” [Id. at 4.] Nevertheless,
    18 HMK granted Plaintiffs a three-month extension of their tenancy, to July 15, 2017,
    19 the date by which Plaintiffs claimed it would be “possible for [Mr. Howard] to
    20 move.” [Id.]
    21              Plaintiffs never agreed to the proposed lease, never attempted to negotiate its
    22 terms, and never offered to even pay the new rental amount until July 14, 2017, the
    23 day before their extended tenancy would terminate. [Id. at 6 & fn. 5.]
    24              Plaintiffs’ later requested extensions of their tenancy—initially without any
    25 time restriction, and then for nearly six months—were not supported by any medical
    26 evidence suggesting that Mr. Howard could not move to a different house in the
    27 area. [Id. at 4-6.] Indeed, as the Court has found, Plaintiffs never gave HMK any
    28 basis for their requested accommodations that contradicted their initial statements

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     1 that Mr. Howard would be able to move out by July 15, 2017. [Id. at 13.]
     2              The reason why is clear: Plaintiffs knew full well that Mr. Howard could
     3 have moved from the House at any time. [See id. at 12 (“Plaintiffs do not dispute
     4 Defendants’ contention that the family could have moved to another Los Angeles
     5 residence in July 2017 notwithstanding Mr. Howard’s medical condition at the
     6 time.”). See also id. at 13 fn. 11 (“Indeed, Plaintiffs never made any such argument
     7 at all, or otherwise controverted Defendants’ assertions on the matter.”).] Plaintiffs’
     8 claims were based entirely on their convenience.
     9              Plaintiffs had no reasonable basis to file this lawsuit based on the denial of a
    10 requested accommodation that was premised solely on their own convenience. [See
    11 id. at 11-16.] Yet, Plaintiffs did so and sought over $1,500,000 in compensatory and
    12 punitive damages—a number wholly untethered to reality. [See id. at 8 (“It is
    13 uncontroverted, however, that Plaintiffs incurred no out-of-pocket losses as a result
    14 of Defendants’ denials of their requests for reasonable accommodation.”).]
    15              Plaintiffs’ actions during discovery are further evidence of the bad faith
    16 nature of this lawsuit. For instance, in support of an ex parte application to prevent
    17 the deposition of Mr. Howard, Mrs. Howard filed a declaration with the Court on
    18 January 10, 2018, in which she falsely declared under penalty of perjury that Mr.
    19 Howard was “non-verbal, and unable to communicate….” [See Docket No. 26-1 at
    20 ¶ 6.] Judge Rosenbluth denied the ex parte application and ordered Mr. Howard to
    21 sit for deposition on January 15, 2018. [Docket No. 30.] Mr. Howard testified
    22 verbally during his deposition on that date and, in fact, a portion of Mr. Howard’s
    23 deposition testimony was cited in the MSJ Order. [See Docket No. 48 at 8; see also
    24 Orlick Decl., ¶ 14.]
    25              Based on the lack of any evidence supporting Plaintiffs’ claims, this lawsuit
    26 appears to have been an attempted shakedown of a landlord who had done nothing
    27
    28

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     1 legally wrong.4 Such frivolous actions are properly deterred by awards of attorneys’
     2 fees to prevailing defendants.
     3              Plaintiffs are expected to argue that the case was not unreasonable because
     4 they also asserted a claim based on HMK’s alleged failure to engage in the
     5 interactive process and the law is not settled on that issue. This argument should be
     6 rejected. This Court’s MSJ Order cited an overwhelming weight of authority
     7 confirming that the failure to engage in the interactive process is not a stand-alone
     8 cause of action for housing discrimination under the FHAA (or under the other
     9 statutes Plaintiffs asserted). In fact, every case but one cited in the MSJ Order
    10 confirms that there is no stand-alone cause of action. [See Docket No. 48 at 16-20.]
    11              The lone cited case holding otherwise, Montano v. Bonnie Brae Convalescent
    12 Hosp., 79 F.Supp.3d 1120 (C.D. Cal. 2015), relied on cases that this Court properly
    13 concluded do not support Montano’s holding, but instead confirm that there is no
    14 such cause of action. [See Docket No. 48 at 18-20.] Even the Joint Statement from
    15 the Department of Housing and Urban Development and Department of Justice that
    16 Plaintiffs filed in opposition to the MSJ “does not discuss or suggest the viability of
    17 an independent cause of action for failure to engage in the interactive process” under
    18 the FHAA. [See id. at 19 fn. 15.]
    19              Accordingly, Plaintiffs’ claim that HMK failed to engage in the interactive
    20 process had no legal basis and therefore does not render their lawsuit reasonable or
    21 non-frivolous.
    22              HMK should be awarded its attorneys’ fees under the FHAA and the Lease.
    23
    24
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    26
    27   At the MSJ hearing, Plaintiffs’ counsel had the audacity to accuse HMK of
         4

    28 “gaming” the system by not granting Plaintiffs’ baseless request for an extension.

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     1 IV.          HMK SHOULD BE AWARDED REASONABLE ATTORNEYS’ FEES
     2              A.    The Law Applicable to Attorneys’ Fees Motions
     3              “District courts must calculate awards for attorneys’ fees using the ‘lodestar’
     4 method.” Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th Cir. 2008)
     5 (citation omitted). “The ‘lodestar’ is calculated by multiplying the number of hours
     6 the prevailing party reasonably expended on the litigation by a reasonable hourly
     7 rate.” Id. (citation omitted). “Although in most cases, the lodestar figure is
     8 presumptively a reasonable fee award, the district court may, if circumstances
     9 warrant, adjust the lodestar to account for other factors which are not subsumed
    10 within it.” Id. (citation omitted).
    11              “[T]he established standard when determining a reasonable hourly rate is the
    12 rate prevailing in the community for similar work performed by attorneys of
    13 comparable skill, experience, and reputation.” Id. at 979 (citation omitted).
    14 “Generally, when determining a reasonable hourly rate, the relevant community is
    15 the forum in which the district court sits.” Id.
    16              “[A]ffidavits of the [parties’] attorney[s] and other attorneys regarding
    17 prevailing fees in the community, and rate determinations in other cases ... are
    18 satisfactory evidence of the prevailing market rate.” Id. at 980, quoting United
    19 Steelworkers of Am. v. Phelps Dodge Corp., 896 F.2d 403, 407 (9th Cir. 1990). See
    20 also Ingram v. Oroudjian, 647 F.3d 925 (9th Cir. 2011) (per curiam) (fees properly
    21 awarded based on Court’s “knowledge and experience” even in absence of
    22 declarations from local attorneys or fee experts).
    23              “[T]he court is tasked with conducting its own independent review” of the
    24 reasonableness of requests for fees. Chambers v. Whirlpool Corp., 214 F.Supp.3d
    25 877, 896 (C.D. Cal. 2016). But, the Ninth Circuit has noted, “[b]y and large, the
    26 [district] court should defer to the winning lawyer’s professional judgment as to how
    27 much time he was required to spend on the case.” Chaudhry v. City of Los Angeles,
    28 751 F.3d 1096, 1111 (9th Cir. 2014), quoting Moreno v. City of Sacramento, 534

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     1 F.3d 1106, 1116 (9th Cir. 2008).
     2              “The party opposing the fee application has a burden of rebuttal that requires
     3 submission of evidence to the district court challenging the accuracy and
     4 reasonableness of the . . . facts asserted by the prevailing party in its submitted
     5 affidavits.” Camacho, 523 F.3d at 980 (citation omitted; ellipses in original).
     6              Prevailing parties also may recover attorneys’ fees incurred in seeking to
     7 recover their attorneys’ fees on a case. See id. at 981.
     8
     9              B.    JMBM’s Rates are Commensurate With the Local Legal Market
    10              JMBM litigated this case using three attorneys—one partner and two
    11 associates—and charged the following rates:
    12          Attorney (Year)                     Year(s) of Practice    Hourly Rate
    13          Martin H. Orlick (2017/2018)        39/40                  $725/$745
    14          Andrew I. Shadoff (2018)            8                      $495
    15          Stuart K. Tubis (2017/2018)         6/7                    $445/$465
    16
         [See Orlick Decl., ¶¶ 9-10.5]
    17
                    All of these rates are reasonable and are commensurate with rates charged in
    18
         the Los Angeles market for litigation attorneys with the skill and experience of these
    19
         attorneys. [See Orlick Decl., ¶¶ 11-22, Exs. 13-14.]
    20
                    Recent cases decided by Courts of this District confirm that JMBM’s rates for
    21
         its attorneys are reasonable and commensurate with rates charged in the Central
    22
         District of California and the Los Angeles market.
    23
                    For example, in ScripsAmerica, Inc. v. Ironridge Global LLC, No. CV 14-
    24
    25   5
          JMBM also charged approximately $27,170 in fees for services provided by
    26 paraprofessionals, including a contract attorney with more than 20 years’ of
       litigation experience, a paralegal with more than 10 years’ of litigation experience,
    27 and two experienced research librarians. [Orlick Decl., ¶ 9.] As a gesture of good
    28 faith, HMK does not seek reimbursement for those fees as part of this Motion.

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     1 03962 SJO (AGRx), 2016 WL 6871280 (C.D. Cal. Jan. 12, 2016), Judge Otero
     2 relied on the prevailing party’s attorney’s declaration as well as “the Court’s
     3 familiarity with prevailing market rates in the Central District” in approving hourly
     4 rates of $950 for a partner who had practiced since 1978, $700 for an associate
     5 practicing for ten years, and $625 for an associate practicing for three years. Id. at
     6 *4. See also Navarro v. DHL Global Forwarding, No. 2:15-cv-05510-CAS(Ex),
     7 2018 WL 2328191, *2 (C.D. Cal. May 21, 2018) (approving hourly rates of $650
     8 for 28-year sole practitioner and $450 for 10-year sole practitioner); Counts v.
     9 Meriwether, No. 2:14-cv-00396-SVW-CW, 2016 WL 1165888, *3 (C.D. Cal. Mar.
    10 9, 2016) (approving hourly rates of $701.25 for a partner practicing for 33 years and
    11 $488.75 for an associate practicing for 8 years); Andresen v. Int’l Paper Co., No.
    12 2:13-cv-02079-CAS(AJWx), 2015 WL 3648972, *13 (C.D. Cal. June 10, 2015)
    13 (approving hourly rate of $750 for partner with 20 years’ experience and $450 for
    14 associate with 5 years’ experience); Rodriguez v. County of Los Angeles, 96
    15 F.Supp.3d 1012, 1023 (C.D. Cal. 2014) (approving rates of $700-$975 for partners,
    16 $600 for a tenth-year lawyer, and $500 for a sixth-year lawyer); accord Chambers,
    17 214 F.Supp.3d at 899 (“In Los Angeles, hourly rates between $485 and $750 are
    18 common.”).
    19              Two surveys of law firm rates further confirm that JMBM’s rates are
    20 commensurate with the Los Angeles legal market.
    21              The Thomson West “Peer Monitor” survey of Los Angeles litigation
    22 attorneys shows that the median hourly fee for an equity partner practicing for 40
    23 years (like Mr. Orlick) is $1,180, the median hourly fee for an associate of 8 years’
    24 experience (like Mr. Shadoff) is $706, and the median hourly fee for an associate of
    25 7 years’ experience (like Mr. Tubis) is $686. [See Orlick Decl., Ex. 13.] The rates
    26 charged by JMBM in this case are significantly lower than those median rates.
    27              Similarly, a 2014 National Law Journal survey of rates also confirms that
    28 JMBM’s rates are in line with rates charged by other large Los Angeles firms. [Id.,

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     1 Ex. 14.] See Chambers, 214 F.Supp.3d at 900 (citing that survey in awarding fees).
     2              Based on all of this evidence, the rates charged by JMBM’s attorneys in this
     3 case were reasonable and commensurate with rates in the Los Angeles market.
     4
     5              C.    JMBM’s Fees Were Reasonably Incurred
     6              The fees HMK incurred in this case were reasonably incurred. In order to
     7 keep costs down, the lion’s share of the work on this matter was performed by two
     8 associates—Mr. Tubis and Mr. Shadoff—who focused on different tasks throughout
     9 the case. As explained in more detail in the Orlick Declaration, JMBM utilized a
    10 division of labor to keep any duplication to a minimum. In particular, JMBM’s
    11 attorneys participated in this litigation as follows:
    12              ● Mr. Orlick has overseen this litigation from its inception. He has been
    13 responsible for overall case strategy and also participated in key events during the
    14 litigation, including taking the depositions of each of Plaintiffs, which elicited key
    15 admissions that supported HMK’s MSJ, representing HMK at mediation, defending
    16 Mr. Khaloian at his deposition, overseeing the preparation of pretrial materials, and
    17 successfully arguing the MSJ. [Id., ¶¶ 12-14.]
    18              ● Mr. Tubis provided key support from the outset of this case, including
    19 analyzing and responding to the Complaint, gathering the background facts,
    20 researching the law needed to defeat Plaintiffs’ claims, handling initial discovery
    21 matters, and drafting HMK’s mediation brief. [Id., ¶¶ 15-16.]
    22              ● Mr. Shadoff became involved starting in January 2018. He took over
    23 primary responsibility for researching and drafting motion papers, including HMK’s
    24 successful MSJ, HMK’s largely successful opposition to Plaintiffs’ motion to
    25 compel, and HMK’s successful opposition to Plaintiffs’ ex parte application to
    26 prevent Mr. Howard’s deposition. Mr. Shadoff also assisted with discovery matters,
    27 including handling interactions with the Department of Veterans’ Affairs, obtaining
    28 the critical declaration of Dr. Murthy and taking the deposition of Dr. Park that

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     1 formed the basis of HMK’s MSJ. [Id., ¶¶ 17-18.]
     2              As the lead attorney on the case, Mr. Orlick reviewed all of the bills to ensure
     3 that the fees charged to the client were for non-repetitive work necessary to this case
     4 and that the time spent on all such work was reasonable.6 [Id., ¶¶ 4-6.] The fees
     5 charged by these attorneys were as follows:
     6
     7       Year         Attorney          Hourly Rate      Hours Billed      Amount Billed
     8       2017         Orlick            $725             5.3               $3,842.50
     9                    Tubis             $425             47.8              $21,271.00
    10       2018         Orlick            $745             98.7              $73,531.50
    11                    Shadoff           $495             157.4             $77,913.00
    12                    Tubis             $445             74.4              $34,596.00
    13       Subtotal of Partner Time (104.0 hours):                           $77,374.00
    14       Subtotal of Associate Time (279.6 hours):                         $133,780
    15       TOTAL ATTORNEYS’ FEES:                                            $211,154.00
    16
    17 [See Orlick Decl., Exs. 2-11 (monthly invoices) and Ex. 12 (breakdown by biller).]
    18       All of these hours were reasonably incurred in the pursuit of total victory.
    19 [Id., ¶¶ 8-9, 19.] They all should be awarded to HMK.
    20
    21 V.           CONCLUSION
    22              For the foregoing reasons, HMK respectfully requests that the Court award it
    23 $211,154.00 in attorneys’ fees reasonably incurred in defeating this action.
    24
    25
    26
    27   6
        As noted above, HMK does not seek to recover fees charged for the work of
    28 JMBM’s paralegals, research librarians, and other professional assistants.

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     1 DATED: June 25, 2018               JEFFER MANGELS BUTLER &
                                          MITCHELL LLP
     2
                                          MARTIN H. ORLICK
     3                                    ANDREW I. SHADOFF
                                          STUART K. TUBIS
     4
     5
     6                                    By: /s/ Andrew I. Shadoff
     7                                                 ANDREW I. SHADOFF
                                              Attorneys for Defendants HMK Holdings,
     8                                        LLC and Hovik M. Khaloian
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